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                          IN THE UNITED STATES DISTRICT COURT                                                -1 1
                                                                                                                    "n
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                                           u.s.r.                        C-’!RT
                                    AUGUSTA DIVISION                                                f.




UNITED STATES OF AMERICA                              'k
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        V .
                                                                      CR 112-254,^                                               _
                                                                                                SO.                  Jr OA.
                                                      k
TYRON LARON COOKS




                                              ORDER



        Defendant Tyron Laron Cooks has filed a motion for reduction

in sentence pursuant to the compassionate release provision of 18

U.S.C.        § 3582 (c) (1) (A) .         The Government opposes the motion.                                          Upon

due     consideration,              the     Court     denies           Defendant's              request                    for

relief.


        The     compassionate             release    provision           provides          a        narrow             path

for a District Court to grant                       release to a defendant                           if it            finds

                                                                            ff
that      extraordinary             and    compelling       reasons               warrant           such            relief

and that release is \\ consistent with applicable policy statements

                                                                                               ft
issued by the            [United States]            Sentencing Commission.                                   18     U.S.C.

§   3582(c) (1) (A) .           Section       IBI.13        of    the        Sentencing                  Guidelines

provides         the     applicable          policy        statement,                 explaining                    that     a

sentence reduction may be ordered where a                                   court determines,                          upon

consideration            of   the    factors      set      forth       in        18    U.S.C.            §    3553(a) ,

that          extraordinary          and     compelling               reasons rt         exist                and          the

defendant         does    not   present       a   danger         to    the        safety       of            any     other
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person or the community.                  U.S.S.G. § IBl.13.                  The application note

to   this        policy      statement          lists           three    specific         examples    of

extraordinary and compelling reasons to consider reduction of a

defendant's            sentence         under     §       3582(c) (1)(A) :          (1)    a    medical

condition;         (2)     advanced       age;    and      (3) family circumstances.                 Id.

                                                                                      \\ As determined
n.KA)-(C) .            A fourth catch-all category provides:

by the Director of the Bureau of Prisons, there                                       exists in      the

defendant's           case   an        extraordinary            and    compelling        reason   other

           or         in   combination                     //     the     aforementioned          three
than,                                            with.

categories.            Id. n.l(D) (emphasis added).

        In this case. Defendant claims to have a qualifying medical

condition based upon his medical conditions:                                   hypertension, pre¬

diabetes. and high cholesterol.                           (Def.'s Mot., Doc. 89, at 2, 6.)

That      is.     Defendant        contends       that          his     medical     conditions,       in

conjunction with the potential adverse effects to him should he

contract COVID-19, qualify as a serious medical condition equating

to   an    \\                                                    If
                extraordinary          and     compelling             reason    for      compassionate

release.          The      Centers       for    Disease         Control       ("CDC")     reports    the
                                  \\
following conditions                   are at increased risk of severe illness from

COVID-19": cancer; chronic kidney disease; COPD; Down Syndrome;

immunocompromised state (weakened immune system) from solid organ

transplant;           obesity     (body        mass       index       [BMI]    of   30    or   higher);

serious heart conditions, such as heart failure, coronary artery

disease,         or    cardiomyopathies;              pregnancy;          sickle      cell     disease;


                                                      2
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smoking; and type 2 diabetes mellitus.                             See Centers for Disease

Control      &     Prevention,         People        with    Certain     Medical       Conditions,

available        at    https://www.ode.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited on

January 11, 2021).                  Defendant's medical records do not show that

he suffers from any of these conditions.                               (See generally Gov't

Resp. in Opp'n, Doc. 92, Ex. C.)                             Defendant, however, has been

diagnosed        with        hypertension,       which       is   listed      by   the   CDC     as    a

                        N\                                                                             ft
condition that               might be at an increased risk for severe illness

for those that contract COVID-19.1                       See Centers for Disease Control

&    Prevention,            People     with     Certain        Medical     Conditions,         supra

(emphasis added).               Moreover, the medical records submitted by the

Government          confirm          that     Defendant's         hypertension           is    well-

controlled            and      treated        with       prescription         medications         and

counseling.           (Gov't Resp. in Opp'n, Ex. C at 1, 3, 10, 12, 16, 18,

22-23, 25, 31-32, 45.)                 It is best remembered that Defendant bears

the    burden         of      demonstrating          that      compassionate         release          IS


warranted.         Cf. United States v. Hamilton, 715 F.3d 328, 337 (ll^h

Cir.       2013)      (in     the    context     of      a    motion     to     reduce    under       §

3582(c)(2)) .          He has not done so.               His concern about the pandemic

as    it    relates     to     his    medical        conditions     is     at   this     point    too

speculative to qualify as extraordinary and compelling.



1
     Defendant's other medical conditions, pre-diabetes and high
cholesterol, are not listed as significant risk factors.

                                                     3
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       Even if a defendant demonstrates extraordinary and compelling

reasons for compassionate release, the Court must still determine

if he is a danger to the community, U.S.S.G. § 1B1.13(2) , and must

consider     the   sentencing     factors     of    18   U.S.C.       §   3553(a),   §

3582(c)(1)(A).       These considerations do not support early release.

The nature of Defendant's offense and criminal history as a career

offender reflect a troubling involvement with domestic violence

and   firearms.2      Simply,    the   need   to   protect      the   public   weighs

against reducing Defendant's sentence to time served, who has over

four years remaining on his sentence.              Also, early release of this

Defendant would fail to reflect the seriousness of his offense.

promote respect for the law, provide just punishment, and afford

adequate deterrence.        In short, reducing his sentence at this time

would not be consistent with the statutory purposes of sentencing.

       Finally, Defendant challenges his status as an armed career

criminal    within    his   §   3582(c)   motion.        This   challenge      to   the

legality of his sentence is only cognizable under 28 U.S.C. § 2255.

The Court notes that Defendant's claims in this regard have been

heard and rejected by the Court in a prior § 2255 proceeding.




2  Defendant's criminal history includes four domestic violence
convictions, the sale of cocaine, and robbery.         The robbery
involved the use of a handgun, and on that same day. Defendant
assaulted two others by brandishing and firing a handgun.       The
present conviction for possession of a firearm by a convicted felon
arose out of a domestic disturbance in which shots were reportedly
fired.

                                          4
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        Upon the foregoing. Defendant Tyron Laron Cooks' motion for

compassionate release (doc. 89) is DENIED.

        ORDER ENTERED at Augusta, Georgia, this          day of January,

2021.




                                       J. RAN    rHAL]/”HIEF JUDGE
                                       UNITED   'ATES DISTRICT COURT
                                       SOOT4fERN DISTRICT OF GEORGIA




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